
48 N.Y.2d 721 (1979)
In the Matter of John C. Sutcliffe et al., Appellants,
v.
Walter Jablonski et al., Constituting the Board of Elections of the County of Dutchess, et al., Respondents.
Court of Appeals of the State of New York.
Argued October 17, 1979.
Decided October 19, 1979.
Thomas P. Halley for appellants.
Stephen J. Wing, County Attorney (Donald Cappillino of counsel), for Board of Elections, respondent.
Ann Brady Rupsis, respondent pro se.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed, without costs, for reasons stated in the memorandum at the Appellate Division.
